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 6                           UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8
     UNITED STATES OF AMERICA,                            NO. CR11-159-RAJ
 9
                                   Plaintiff,
10

11          v.                                            DETENTION ORDER

12   SANTOS SEGUNDO GERARDO,

13                                 Defendant.
14

15   Offenses charged:

16          Count 1:        Conspiracy to Distribute a Controlled Substance, in violation of 21
                            U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846
17
            Count 2:        Conspiracy to Import Controlled Substances, in violation of 21 U.S.C.
18                          §§ 952(a), 960(a)(1), 960(b)(1), and 963
19
            Count 3:        Conspiracy to Engage in Money Laundering, in violation of 18 U.S.C.
20                          §§ 1956 and1957

21   Date of Detention Hearing: July 13, 2011
22          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

23   based upon the factual findings and statement of reasons for detention hereafter set forth, finds:

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     DETENTION ORDER
     18 U.S.C. § 3142(i)
     Page 1
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 1         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         1.    Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

 3               defendant is a flight risk and a danger to the community based on the nature of

 4               the pending charges. Application of the presumption is appropriate in this case.

 5         2.    Defendant has stipulated to detention, but reserves the right to contest his

 6               continued detention if there is a change in circumstances.

 7         3.    An immigration detainer has been placed on defendant by the United States

 8               Immigration and Customs Enforcement.

 9         4.    There are no conditions or combination of conditions other than detention that

10               will reasonably assure the appearance of defendant as required or ensure the

11               safety of the community.

12         IT IS THEREFORE ORDERED:
13         (1)   Defendant shall be detained and shall be committed to the custody of the

14               Attorney General for confinement in a correction facility separate, to the extent

15               practicable, from persons awaiting or serving sentences or being held in custody

16               pending appeal;

17         (2)   Defendant shall be afforded reasonable opportunity for private consultation with

18               counsel;

19         (3)   On order of a court of the United States or on request of an attorney for the

20               government, the person in charge of the corrections facility in which defendant

21               is confined shall deliver the defendant to a United States Marshal for the

22               purpose of an appearance in connection with a court proceeding; and

23   //

24   //

25   //

26   //


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           (4)    The Clerk shall direct copies of this Order to counsel for the United States, to
 2
                  counsel for the defendant, to the United States Marshal, and to the United States
 3
                  Pretrial Services Officer.
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           DATED this 13th day of July, 2011.
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 6                                              AJAMES P. DONOHUE
 7                                               United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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